     Case 2:20-cv-07897-RSWL-SK Document 21 Filed 09/30/21 Page 1 of 1 Page ID #:311




 1    Vahe Khojayan (SBN261996)                                                 JS-6
 2    YK Law, LLP
      445 S. Figueroa Street, Ste 2280
 3    Los Angeles, CA 90071
 4    Tel: 213-401-0970
      Fax: 213-529-3044
 5
      Email: vkhojayan@yklaw.us
 6
 7    Attorneys for Plaintiff JAMES CHEN

 8                         UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11    JAMES CHEN,                                   Case No.: 2:20-cv-7897-RSWL-SKx
12
                    Plaintiff,                      Hon: Ronald S.W. Lew
13
      vs.                                           [PROPOSED] ORDER
14
                                                    DISMISSING THE ENTIRE
15                                                  ACTION WITH PREJUDICE [FED.
      AT&T MOBILITY, LLC; and DOES 1
16    – 100 Inclusive.                              R. CIV. P. 41(a)(1)(A)(ii)]
17
                    Defendants
18
19           Pursuant to the Stipulation of the Parties under Fed. R. Civ. P.
20    41(a)(1)(A)(ii), the Court hereby orders as follows:
21           1. This case is dismissed with prejudice.
22           2. Each party shall bear its own attorneys’ fees and costs.
23           IT IS SO ORDERED.
24    Date: September 30, 2021
25
26                                            __/S/ RONALD S.W. LEW ___
27                                            HON. RONALD S.W. LEW
                                              UNITED STATES DISTRICT JUDGE
28

                                                1

            ORDER DISMISSING THE ENTIRE ACTION WITH PREJUDICE
